           Case 1:02-cv-06385-AWI-GSA Document 222 Filed 11/05/09 Page 1 of 1


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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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        MARIA TORRES and MELCHOR            )               1: 02-CV-6385 AWI GSA
10      TORRES, individually and as         )
        Administrators of the Estate of     )               ORDER VACATING NOVEMBER 9,
11      EVERARDO TORRES,                    )               2009 HEARING
                                            )
12                        Plaintiffs,       )
              v.                            )
13                                          )
        CITY OF MADERA, et al.,,            )
14                                          )
                          Defendants.       )
15      ___________________________________ )
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17          Plaintiffs have noticed for hearing and decision a request for certification pursuant to
18   Rule 54(b). The matter was scheduled for hearing to be held on November 9, 2009. Defendants
19   have not filed an opposition to Plaintiffs’ motion. The court has reviewed Plaintiffs’ motion and
20   the applicable law, and has determined that the motion is suitable for decision without oral
21   argument. See Local Rule 78-230(h).
22          Therefore, IT IS HEREBY ORDERED that the previously set hearing date of November
23   9, 2009, is VACATED, and no party shall appear at that time. As of November 9, 2009, the
24   court will take the matter under submission, and will thereafter issue its decision.
25   IT IS SO ORDERED.
26   Dated:     November 5, 2009                       /s/ Anthony W. Ishii
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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